       Case 1:21-cv-03796-MKB-SJB Document 8 Filed 08/17/21 Page 1 of 8 PageID #: 24


                                     UNITED STATES DISTRICT COURT
                                     EASTERN DISTRICT OF NEW YORK
TODD C. BANK,
                                                                1:21-cv-03796-MKB-SJB
                                        Plaintiff,
                                                                SUBPOENA IN A CIVIL ACTION
                -against-

JOHN DOE,

                                        Defendant.


TO:    Spark Energy, LLC
       12140 Wickchester Lane
       Suite 100
       Houston, Texas 77079

YOU ARE COMMANDED to remotely appear at the time, date, and place set forth below to testify at a deposition
to be taken, in this civil action, by the plaintiff, Todd C. Bank. You must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters
as set forth in Exhibit “A” hereto.

PLACE                                                         DATE AND TIME
To be determined by agreement of the parties                  September 9, 2021, at 10:00 a.m.

You, or your representatives, must also bring with you, to the deposition, the documents, electronically-stored
information, or objects as set forth in Exhibit “B” hereto, and must permit inspection, copying, testing, or sampling
of the material.

ISSUING OFFICER SIGNATURE AND TITLE (INDICATE IF ATTORNEY FOR PLAINTIFF OR
DEFENDANT)

The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance; Rule
45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty
to respond to this subpoena and the potential consequences of not doing so.

SO-ORDERED:




Sanket J. Bulsara
United States Magistrate Judge

Dated: _______________, _____, 2021
       Case 1:21-cv-03796-MKB-SJB Document 8 Filed 08/17/21 Page 2 of 8 PageID #: 25


                   Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.

(1) For a Trial, Hearing, or Deposition. A subpoena may command a person to attend a trial, hearing, or deposition
only as follows:
        (A) within 100 miles of where the person resides, is employed, or regularly transacts business in person; or
        (B) within the state where the person resides, is employed, or regularly transacts business in person, if the
person           (i) is a party or a party’s officer; or
                 (ii) is commanded to attend a trial and would not incur substantial expense.

(2) For Other Discovery. A subpoena may command:
        (A) production of documents, electronically stored information, or tangible things at a place within 100 miles
        of where the person resides, is employed, or regularly transacts business in person; and
        (B) inspection of premises at the premises to be inspected.

(d) Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney responsible for issuing and serving a subpoena
must take reasonable steps to avoid imposing undue burden or expense on a person subject to the subpoena. The court
for the district where compliance is required must enforce this duty and impose an appropriate sanction—which may
include lost earnings and reasonable attorney’s fees—on a party or attorney who fails to comply.

(2) Command to Produce Materials or Permit Inspection.
       (A) Appearance Not Required. A person commanded to produce documents, electronically stored information,
       or tangible things, or to permit the inspection of premises, need not appear in person at the place of production
       or inspection unless also commanded to appear for a deposition, hearing, or trial.
       (B) Objections. A person commanded to produce documents or tangible things or to permit inspection may
       serve on the party or attorney designated in the subpoena a written objection to inspecting, copying, testing,
       or sampling any or all of the materials or to inspecting the premises—or to producing electronically stored
       information in the form or forms requested. The objection must be served before the earlier of the time
       specified for compliance or 14 days after the subpoena is served. If an objection is made, the following rules
       apply:
               (i) At any time, on notice to the commanded person, the serving party may move the court for the
               district where compliance is required for an order compelling production or inspection.
               (ii) These acts may be required only as directed in the order, and the order must protect a person who
               is neither a party nor a party’s officer from significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.
       (A) When Required. On timely motion, the court for the district where compliance is required must quash or
       modify a subpoena that:
              (i) fails to allow a reasonable time to comply;
              (ii) requires a person to comply beyond the geographical limits specified in Rule 45(c);
              (iii) requires disclosure of privileged or other protected matter, if no exception or waiver applies; or
              (iv) subjects a person to undue burden.
       (B) When Permitted. To protect a person subject to or affected by a subpoena, the court for the district where
       compliance is required may, on motion, quash or modify the subpoena if it requires:
              (i) disclosing a trade secret or other confidential research, development, or commercial information;
       Case 1:21-cv-03796-MKB-SJB Document 8 Filed 08/17/21 Page 3 of 8 PageID #: 26


                 or
                 (ii) disclosing an unretained expert’s opinion or information that does not describe specific
                 occurrences in dispute and results from the expert’s study that was not requested by a party.
        (C) Specifying Conditions as an Alternative. In the circumstances described in Rule 45(d)(3)(B), the court
        may, instead of quashing or modifying a subpoena, order appearance or production under specified conditions
        if the serving party:
                 (i) shows a substantial need for the testimony or material that cannot be otherwise met without undue
                 hardship; and
                 (ii) ensures that the subpoenaed person will be reasonably compensated.

(e) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information. These procedures apply to producing documents or
electronically stored information:
        (A) Documents. A person responding to a subpoena to produce documents must produce them as they are kept
        in the ordinary course of business or must organize and label them to correspond to the categories in the
        demand.
        (B) Form for Producing Electronically Stored Information Not Specified. If a subpoena does not specify a form
        for producing electronically stored information, the person responding must produce it in a form or forms in
        which it is ordinarily maintained or in a reasonably usable form or forms.
        (C) Electronically Stored Information Produced in Only One Form. The person responding need not produce
        the same electronically stored information in more than one form.
        (D) Inaccessible Electronically Stored Information. The person responding need not provide discovery of
        electronically stored information from sources that the person identifies as not reasonably accessible because
        of undue burden or cost. On motion to compel discovery or for a protective order, the person responding must
        show that the information is not reasonably accessible because of undue burden or cost. If that showing is
        made, the court may nonetheless order discovery from such sources if the requesting party shows good cause,
        considering the limitations of Rule 26(b)(2)(C).The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.
        (A) Information Withheld. A person withholding subpoenaed information under a claim that it is privileged
        or subject to protection as trial-preparation material must:
                (i) expressly make the claim; and
                (ii) describe the nature of the withheld documents, communications, or tangible things in a manner
                that, without revealing information itself privileged or protected, will enable the parties to assess the
                claim.
        (B) Information Produced. If information produced in response to a subpoena is subject to a claim of privilege
        or of protection as trial-preparation material, the person making the claim may notify any party that received
        the information of the claim and the basis for it. After being notified, a party must promptly return, sequester,
        or destroy the specified information and any copies it has; must not use or disclose the information until the
        claim is resolved; must take reasonable steps to retrieve the information if the party disclosed it before being
        notified; and may promptly present the information under seal to the court for the district where compliance
        is required for a determination of the claim. The person who produced the information must preserve the
        information until the claim is resolved.

(g) Contempt. The court for the district where compliance is required—and also, after a motion is transferred, the
issuing court—may hold in contempt a person who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.
        Case 1:21-cv-03796-MKB-SJB Document 8 Filed 08/17/21 Page 4 of 8 PageID #: 27




                                                    INSTRUCTIONS

        a.      In the event that any document called for by a Request is withheld on the basis of a claim of privilege,

identify that document by stating its author(s), addressee(s), indicated or blind-copy recipient(s), date, subject matter,

number of pages, attachments or appendices, all persons to whom the documents was distributed, shown or

explained, present custodian, and the nature of the claimed privilege.

        b.      If any document requested was, but no longer is, in your possession or subject to your control, state:

(a) the date of its disposition; (b) the manner of its disposition (e.g., lost, destroyed, or transferred to any third party);

and (c) an explanation of the circumstances surrounding the disposition of the document.

        c.      Any Requests for documents pertaining to dates may be responded with documents showing a range

of dates if more precise dates are not available.

        d.      The terms “all,” “any,” and “each” shall each be construed as encompassing any and all.

        e.      The connectives “and” and “or” shall be construed either disjunctively or conjunctively as necessary

to bring within the scope of the discovery request all responses that might otherwise be construed to be outside of

its scope.

        f.      The use of the singular form of any word includes the plural and vice versa.

        g.      Unless otherwise indicated, each Request shall be answered with respect to the Relevant Period.

                                                     DEFINITIONS

        a.      “Spark” means: (a) (1) Spark Energy, LLC, which is a Texas corporation whose principal place of

business is in Houston, Texas; and, (2) any predecessor or successor thereof; (b) (1) any corporate parent, corporate

subsidiary, or division of Spark, and (2) predecessor or successor thereof; and (c) any agents and subcontractors of

Spark acting as a result of a business relationship to which Spark is, or was, a party.

        b.      The terms “you” and “Responding Party” means Spark.

        c.      The term “any” means “each” and “all.”
       Case 1:21-cv-03796-MKB-SJB Document 8 Filed 08/17/21 Page 5 of 8 PageID #: 28




       d.      The term “Relevant Period” means the period from July 16, 2019, through August 7, 2019.

       e.      The term “document” means any written or graphic material, whether in a hard format such as paper

of an electronically format stored in any medium from which information can be obtained either directly or, if

necessary, after translation by the responding party into a reasonably usable form, including writings, drawings,

graphs, charts, photographs, sound recordings, images, and other data or data compilations. A draft or non-identical

copy is a separate document.

       f.      The term “indicate” means to directly or indirectly do any of the following: show, reflect, refer to,

or describe.

       g.      The term “identify,” with respect to persons, means to give, to the extent known, the person’s full

name and mostly recently known address.

       h.      The term “identify,” with respect to documents, means to give, to the extent known, the (i) type of

document; (ii) general subject matter; (iii) date of the document; and (iv) author(s), addressee(s) and recipient(s).

In the alternative, the responding party may produce the documents, together with identifying information sufficient

to satisfy Fed. R. Civ. P. 33(d).

       i.       The term “person” is defined as any natural person or any legal entity, including, without limitation,

any business or governmental entity or association.

       j.      The term “telephone” means a device that coverts sound and electrical waves into audible relays.

       k.      The term “telephone call” means the transmission of any communication that is: (i) connected, directly

or indirectly, to a public switched-telephone network (PSTN), and/or a voice-over-internet-protocol (VOIP)

network, and/or any other network, and (ii) transmitted to a receiving number regardless of how the transmission

is enabled and regardless of how many, if any, of the numbers of the receiving number are utilized in the process that

enables the transmission.

       l.      The term “receiving number” means a ten-digit number consisting of a three-digit Numbering Plan
       Case 1:21-cv-03796-MKB-SJB Document 8 Filed 08/17/21 Page 6 of 8 PageID #: 29




Area (NPA) code, commonly called an area code, followed by a seven-digit local number.

        m.     The term “answering system” means a physical device or electronic-storage system that can enables

a person, when making a telephone call that is not answered by a live person, to leave a message that can be heard

thereafter.

        n.     With respect to a telephone call, the term “answer,” as both a verb and noun, refers the answering

of a telephone call by at least one of the following methods: (i) a person; (ii) an answering system; or (iii) a person

and an answering system (as occurs, for example, when a call is answered by an answering system and then also

answered by a person, or vice-versa ).

        o.     The term “Subject Telephone Call” means a telephone call that, during the Relevant Period, was

placed to the telephone number (718) XXX-XXXX [the actual number will be provided to Spark with this

Subpoena].
        Case 1:21-cv-03796-MKB-SJB Document 8 Filed 08/17/21 Page 7 of 8 PageID #: 30




                                                  EXHIBIT “A”

        1.     The identity of any person that placed, or was reasonably likely to have placed, any Subject Telephone

Call.

        2.     The identity of any person that, either directly or indirectly, arranged for the placing, or was

reasonably likely to have arranged for the placing, of any Subject Telephone Call.

        3.     The identity of any person that, during the Relevant Period, placed, or was reasonably likely to have

placed, any telephone call wherein previously recorded material was played upon the answering of such call, followed

by a live person’s attempt to sell services that Spark provided.

        4.     The identity of any person that, either directly or indirectly, arranged for the placing, or was

reasonably likely to have arranged for the placing, of any telephone call described in paragraph “3.”

        5.     The identity of any person that was alleged to have placed any telephone call as described in paragraph

“3.”

        6.     The identity of any person that was alleged to have, either directly or indirectly, arranged for the

placing of any telephone call described in paragraph “3.”
        Case 1:21-cv-03796-MKB-SJB Document 8 Filed 08/17/21 Page 8 of 8 PageID #: 31




                                                    EXHIBIT “B”

        1.      Complete copies of any and all documents that identify any person that placed, or was reasonably

likely to have placed, any Subject Telephone Call.

        2.      Complete copies of any and all documents that identify any person that arranged for the placing, or

was reasonably likely to have arranged for the placing, of any Subject Telephone Call by another person, either

directly or indirectly.

        3.      Complete copies of any and all documents that identify any person that, during the Relevant Period,

placed, or was reasonably likely to have placed, any telephone call wherein previously recorded material was played

upon the answering of such call, followed by a live person’s attempt to sell services that Spark provided.

        4.      Complete copies of any and all documents that identify any person that, either directly or indirectly,

arranged for the placing, or was reasonably likely to have arranged for the placing, of any telephone call as described

in paragraph “3.”

        5.      Complete copies of any and all documents that identify any person that was alleged to have placed

any telephone call as described in paragraph “3.”

        6.      Complete copies of any and all documents that identify any person that was alleged to have, either

directly or indirectly, arranged for the placing of any telephone call described in paragraph “3.”
